     Case 8:20-cv-01620-MCS-ADS Document 24 Filed 12/04/20 Page 1 of 2 Page ID #:120


 1

 2

 3                                                                 JS-6
 4

 5

 6

 7

 8

 9                           UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11

12      JAMES RUTHERFORD, an               Case No. 8:20-cv-01620-MCS-ADS
13      individual,
14                                             [PROPOSED] ORDER DISMISSAL
        Plaintiff,                             WITH PREJUDICE
15
        v.
16

17      1721 KATELLA, LLC, a
        California limited liability
18      company; and DOES 1-10,
19      inclusive,
20      Defendants.
21

22

23

24

25

26

27
                                           1
28
                                   [PROPOSED] ORDER
                               DISMISSAL WITH PREJUDICE
     Case 8:20-cv-01620-MCS-ADS Document 24 Filed 12/04/20 Page 2 of 2 Page ID #:121


 1          After consideration of the Joint Stipulation for Dismissal of the entire action

 2    with Prejudice filed by Plaintiff James Rutherford (“Plaintiff”) and 1721 Katella,
 3
      LLC (“Defendant”), the Court hereby enters a dismissal with prejudice of Plaintiff’s
 4

 5    Complaint in the above-entitled action, in its entirety. Each party shall bear his or its

 6    own costs and attorneys’ fees.
 7

 8          IT IS SO ORDERED.
 9
      DATED: December 4, 2020
10

11
                                       UNITED STATES DISTRICT JUDGE
12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27
                                          2
28
                                   [PROPOSED] ORDER
                               DISMISSAL WITH PREJUDICE
